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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

DAMON HILL,                                         )
                                                    )
                Plaintiff,                                      3:20-cv-353-CRS
                                                    ) Case No. __________
                                                    )
vs.                                                 )
                                                    )
VOYA FINANCIAL,                                     )
                                                    )
                Defendant.                          )
                                                    )

                                       NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1441(a) and 1446, et seq., Defendant Voya Financial, Inc.

(“Voya”) files this Notice of Removal of this action from State Court to this Court and

respectfully states as follows:

         1.     On or about April 21, 2020, Plaintiff Damon Hill (“Hill”) commenced a civil

action in the Circuit Court of Jefferson County, Kentucky (“the State Court”), bearing the style,

Damon Hill v. Voya Financial, Docket No. 20-CI-002597 (“the Civil Action”). The Civil Action

is still pending in the State Court.

         2.     Hill served a copy of the Summons and Complaint on the Kentucky Secretary of

State on April 29, 2020, which then forwarded the same to Voya. The documents attached at

Exhibit A include all process, pleadings, and orders received by Voya in the Civil Action to date.

         3.     Voya has, to date, made no appearance in the Civil Action in State Court.

         4.     The Civil Action is one of which this Court has federal question jurisdiction

pursuant to 28 U.S.C. § 1331 and removal jurisdiction pursuant to 28 U.S.C. § 1441 in that:

         (a)    The Complaint asserts a claim to recover long-term disability (“LTD”) benefits, to

                enforce rights, and/or to clarify rights to future LTD benefits under group LTD




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               Policy No. 69500-9LTD2011 (“the Policy”). The certificate of coverage for the

               Policy is attached as Exhibit B. The Policy, which funds benefits under an

               “employee welfare benefit plan,” is governed exclusively by the Employee

               Retirement Income Security Act (“ERISA”) 29 U.S.C. § 1001, et seq.;

        (b)    The Policy is a “plan document” under a plan which is established or maintained

               by an employer as defined by ERISA, 29 U.S.C. § 1002(1), and Hill purports to

               be a participant in the plan;

        (c)    Hill’s sole and exclusive remedy, if any, for the losses suffered and benefits

               claimed arises under ERISA, 29 U.S.C. § 1132(a)(1)(B). Plaintiff’s Complaint,

               on its face, asserts entitlement to benefits under ERISA. And, any state law claim

               for benefits that is or may be plead is completely preempted and displaced by the

               civil enforcement provision of ERISA, Section 502, 29 U.S.C. § 1132,

               Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58 (1987); and

        (d)    This Court has original jurisdiction of Hill’s claim for benefits under the civil

               enforcement provision of ERISA, 29 U.S.C. § 1132(e)(1), which gives this Court

               jurisdiction without regard to the amount in controversy or the citizenship of the

               parties.

        5.     Voya has filed this Notice prior to the expiration of thirty (30) days following its

first receipt of the Complaint, through service or otherwise.

        6.     The judicial district and division of this Court embraces Jefferson County,

Kentucky, the place where the Civil Action is pending.




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        7.    Voya will give written notice to Hill and will file a Notice of Filing of Notice of

Removal with the Clerk of the Circuit Court of Jefferson County, Kentucky. Voya attaches a

copy of the Notice of Filing of Notice of Removal as Exhibit C.

        WHEREFORE, defendant, Voya Financial, Inc., prays that the Civil Action now pending

against it in the Circuit Court of Jefferson County, Kentucky be removed therefrom to this Court.

                                            STURGILL, TURNER, BARKER & MOLONEY, PLLC


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                                                   ATTORNEYS FOR DEFENDANT




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of May, 2020, a copy of the above pleading was
served via the District Court ECM/ECF system, and by first class United States mail, postage
prepaid, on the following counsel of record:

        Robert A. Florio
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        Louisville, KY 40206
        Email: raflorioatty@hotmail.com

        ATTORNEY FOR PLAINTIFF

                                           /s/ Joshua M. Salsburey
                                           Joshua M. Salsburey (89038)




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